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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-1151                                                     September Term, 2024
                                                                                EPA-89FR37028
                                                       Filed On: February 6, 2025 [2099258]
United Steel, Paper and Forestry, Rubber,
Manufacturing, Energy, Allied Industrial and
Service Workers International Union,
AFL-CIO,

                   Petitioner

         v.

Environmental Protection Agency,

                   Respondent

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Olin Corporation, et al.,
                   Intervenors
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Consolidated with 24-1182, 24-1185,
24-1202, 24-1237


                                             ORDER

       Upon consideration of the motion of petitioners and intervenors to modify the
briefing schedule, it is]

         ORDERED that the motion be denied.

                                            Per Curiam

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Scott H. Atchue
                                                              Deputy Clerk
